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INDIVIDUAL ESTATEl PROPER'I`Y RECORD AND REPORT Pag€! l
ASSET CASES
Case No: 17-13915 .IDL Judge: .Ianice D. Loyd Trustee Name; SUSAN MANCHESTER
ease Name: MOHR' MICHAEL JOHN Date Filed (f) or Converted (c): 11/29/18 (C)

MOHR, CHRYSTAL RENE
For Period Ending: 02/05/ 19

341(a) Meeting Date: 01/02/19
C|aims Bar Date:

 

 

 

 

 

 

 

 

 

 

l 2 3 4 5 6
Estimated Net Value
(anue Determincd Pl’°P¢l'*y Asset Fully
P¢tirion/ by Trusr¢¢, L¢ss F<>mwlly SalefFunds Adminis¢¢r¢d (FA)/
ASS¢! D¢S°fip‘i°n Unscheduled Liens, Exemptions, Aband°“°d R¢C¢i‘/¢d by Gross Value of Remaining

(Sch=duled and Unsch¢dul¢d (u) Pwp¢ny) values and outer com) 0A=554(a) the Esm¢ Ass¢ts
l. Single-fami|y home, 425,500.00 0.00 0.00 FA
Lol Six (6), Block One (l), o
2. 2011 Chevrolet Silverado 1500 mileage: 183000 3,500.00 0.00 0.00 FA
3. 2007 Ford F-150 (Belong's to son) mileage: 150000 3,000.00 0.00 0.00 FA
4. 2011 Toyota 4Runner mileage: 130000 10,000.00 0.00 0.00 FA
5. Household Fumiture 5,000.00 0.00 0.00 FA
6. Computer, Televisions, Cel| Phones 1,000.00 0.00 0.00 FA
7. Personal Clothing 1,500.00 0.00 0.00 FA
8. Wedding Bands 500.00 0.00 0.00 FA
9. Three Dogs 0.00 0.00 0.00 FA
10. Tinker Federal Credit Union 1,000.00 0.00 0.00 FA
1 1. Tinker Federa| Credit Union 5.00 5.00 0.00 FA
12. Lincoln Financial, Beneficiary: Mike 250,000.00 0.00 0.00 FA
|3. Lincoln Financial, Beneficiary: Chrystal 250,000.00 0.00 0.00 FA
|4. POST PETITION RENEWAL lNS COMM (u) 0.00 6,000.00 0.00 6,000.00

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Value of Remaining Assets
TOTALS (Excluding Unknown Va|ues) $951,005.00 $6,005.00 $0.00 $6,000.00

(’I`otal Dollar Amount
in Column 6)

 

Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other actions

February 05, 2019, 01 :37 pm ASSET DUE TO POST PETITION INSURANCE RENEWALS,

January 24, 2019, 10212 am POSSIBLE ASSET DUE TO POST PETITION INSURANCE RENEWALS, AMENDED 2017
RETURN AND FORD F-150.

January 24, 2019, 101 13 am SEN'I` TAX LE'I'I`ER THIS SAME DATE. TRUSTEE TO DETERMINE IF ASSET CASE OR
NO'I`. REQUESTED PHOTOS OF THE 2007 FORD F-l50

Initial Projet:ted Date of Final Report (TFR): 12/31/20 Current Projected Date of Final Report ('I`FR): 12/31/20

PFoan ` Ver: 21.00a

